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 5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,
                                                   NO: 2:20-CR-0064-TOR
 8                              Plaintiff,
                                                   ORDER DENYING MOTIONS TO
 9          v.                                     DISMISS INDICTMENT

10    DAVIS HENDERSON TATSHAMA,
      SR.,
11
                                Defendant.
12

13         BEFORE THE COURT are Defendant’s Motion to Dismiss Indictment

14   (ECF No. 29), and Defendant’s Motion to Dismiss Count 2 of the Superseding

15   Indictment (ECF No. 54). The motions were heard at the pretrial conference held

16   on November 5, 2020. The United States is represented by AUSA Richard R.

17   Barker and SAUSA Michael L. Vander Giessen. Defendant appeared personally

18   and is represented by J. Stephen Roberts, Jr. and Houston Goddard of the Federal

19   Defenders of Eastern Washington and Idaho. The Court has reviewed the record

20   and files herein, the completed briefing, heard from counsel and is fully informed.



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 1                                     BACKGROUND

 2         On June 2, 2020, Defendant was charged by Indictment with one count of

 3   cyberstalking in violation of 18 U.S.C. § 2261A(2)(B). ECF No. 1. On August 11,

 4   2020, Defendant moved to dismiss the Indictment for three reasons. ECF No. 29.

 5   First, Defendant contends that § 2261A(2) is unconstitutionally vague. Id. at 2-4.

 6   Second, Defendant contends the indictment is deficient because it does not provide

 7   a plain, concise, and definite written statement of the essential facts constituting

 8   the offense charged, to wit: it is not clear what the alleged “course of conduct” that

 9   is being charged. Id. at 4-5. Third, Defendant contends the indictment is deficient

10   because it does not allege “2 or more acts” in order to satisfy the statutory

11   definition of “course of conduct.” Id. at 5-6.

12         On September 16, 2020, the grand jury issued a superseding indictment

13   charging Defendant with two counts: cyberstalking in violation of 18 U.S.C.

14   § 2261A(2)(B), count 1; and threats in interstate commerce in violation of 18

15   U.S.C. § 875(c), count 2. ECF No. 46. Count 1 of the Indictment alleges:

16            On or about January 16, 2020, in the Eastern District of
              Washington, the Defendant, DAVIS HENDERSON TATSHAMA,
17            SR., with the intent to harass and intimidate J.R.A., used an
              electronic communication system of interstate commerce to engage
18            in a course of conduct that caused, attempted to cause, and would
              be reasonably expected to cause substantial emotional distress to
19            J.R.A., all in violation of 18 U.S.C. §§ 2261A(2)(B), 2261(b)(5).

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 1   ECF No. 46. The wording of this count is identical to the wording of the original

 2   indictment. ECF No. 1.

 3         On October 22, 2020, Defendant moved to dismiss count 2 of the

 4   Superseding Indictment. ECF No. 54. Defendant contends that count 2 does not

 5   charge him with transmitting a communication “for the purpose of issuing a

 6   threat, or with knowledge that the communication will be viewed as a threat.” Id.

 7   at 3. Defendant observes that the Supreme Court “held that while the statutory

 8   language applies a mens rea element only to the transmission of a communication,

 9   the crucial element making that act criminal is ‘the threatening nature of the

10   communication,’ and ‘[t]he mental state requirement must therefore apply to the

11   fact that the communication contains a threat.’” Id. at 2-3 (quoting Elonis v.

12   United States, 575 U.S. 723, 135 S. Ct. 2001, 2011 (2015).

13                                       DISCUSSION

14      A. Whether 18 U.S.C. §§ 2261A(2)(B) is Unconstitutionally Vague

15         “In a facial challenge, a statute is unconstitutionally vague if it fails to

16   provide a person of ordinary intelligence fair notice of what is prohibited, or is so

17   standardless that it authorizes or encourages seriously discriminatory

18   enforcement. . . .” United States v. Osinger, 753 F.3d 939, 943–44 (9th Cir. 2014)

19   (citation omitted). “Vague statutes are invalidated for three reasons: (1) to avoid

20   punishing people for behavior that they could not have known was illegal; (2) to



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 1   avoid subjective enforcement of laws based on arbitrary and discriminatory

 2   enforcement by government officers; and (3) to avoid any chilling effect on the

 3   exercise of First Amendment freedoms. . . .” Id. at 945 (citation omitted).

 4           The Ninth Circuit upheld the constitutionality of a predecessor version of the

 5   current statute, 18 U.S.C. § 2261A, in Osinger. The prior version (eff. Jan. 5,

 6   2006) provided in relevant part:

 7             Whoever . . . (2) with the intent—(A) to kill, injure, harass, or place
               under surveillance with intent to kill, injure, harass, or intimidate,
 8             or cause substantial emotional distress to a person in another State
               or tribal jurisdiction or within the special maritime and territorial
 9             jurisdiction of the United States ... uses the mail, any interactive
               computer service, or any facility of interstate or foreign commerce
10             to engage in a course of conduct that causes substantial emotional
               distress to that person shall be punished as provided in section
11             2261(b) of this title.

12   Osinger, 753 F.3d at 943 n.1. The current version of § 2261A provides in relevant

13   part:

14             Whoever . . . (2) with the intent to kill, injure, harass, intimidate, or
               place under surveillance with intent to kill, injure, harass, or
15             intimidate another person, uses the mail, any interactive computer
               service or electronic communication service or electronic
16             communication system of interstate commerce, or any other facility
               of interstate or foreign commerce to engage in a course of conduct
17             that—
                ...
18
                   (B) causes, attempts to cause, or would be reasonably expected
19                 to cause substantial emotional distress to a person described in
                   clause (i), (ii), or (iii) of paragraph (1)(A),
20
               shall be punished as provided in section 2261(b) of this title.


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 1   18 U.S.C. § 2261A (eff. Dec. 20, 2018).

 2         Defendant contends the statute “requires a showing of volition (“attempts to

 3   cause”) for an abstract noun (“course of conduct”).” ECF No. 44 at 2. Essentially,

 4   Defendant contends the statute “requires a showing of specific intent for the

 5   defendant [“intent to harass or intimidate another person”] and separately requires

 6   a showing that the course of conduct attempted to cause substantial emotional

 7   distress.” Id. at 3. Defendant claims this is “incomprehensible statutory

 8   language.” Id. at 4.

 9         “It is a fundamental canon of statutory construction that the words of a

10   statute must be read in their context and with a view to their place in the overall

11   statutory scheme.” Gundy v. United States, 139 S. Ct. 2116, 2126 (2019) (quoting

12   National Assn. of Home Builders v. Defenders of Wildlife, 551 U.S. 644, 666

13   (2007) (“[t]he meaning—or ambiguity—of certain words or phrases may only

14   become evident when placed in context . . . .”). And beyond context and structure,

15   the Court often looks to “history [and] purpose” to divine the meaning of language.

16   Gundy, 139 S. Ct. at 2126.

17         The statute clearly prohibits an array of certain specified conduct. As it

18   pertains to the charges here and read in full context, the statute plainly prohibits

19   any person “with intent” to harass or intimidate another person from using certain

20   facilities to engage in a course of conduct that causes substantial emotional



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 1   distress, or attempts to cause substantial emotional distress, or which would

 2   reasonably be expected to cause substantial emotional distress. In essence the

 3   elements of the offense are: first, the defendant must have the specific intent to

 4   harass or intimidate; second, the defendant must use certain facilities; third,

 5   defendant must engage in a course of conduct, defined at 18 U.S.C. § 2266(2) as “a

 6   pattern of conduct composed of 2 or more acts, evidencing a continuity of

 7   purpose”; and fourth, the course of conduct must have resulted in one of three

 8   things: it caused substantial emotional distress, or defendant’s course of conduct

 9   attempted to cause substantial emotional distress, or the course of conduct would

10   reasonably be expected to cause substantial emotional distress.

11         Much of the statute was analyzed by the Ninth Circuit in Osinger and was

12   held to be constitutional. The amendment to the statute, as it pertains to this case

13   and Defendant’s specific challenge, concerns the addition of the “attempts to

14   cause” language. But there is nothing ambiguous about the amended language as it

15   provides another alternative way to violate the statute. There is no general federal

16   attempt statute. United States v. Hopkins, 703 F.2d 1102, 1104 (9th Cir. 1983) (“A

17   defendant therefore can only be found guilty of an attempt to commit a federal

18   offense if the statute defining the offense also expressly proscribes an attempt.”).

19   The mens rea element for “attempt” to commit a crime is that defendant intended

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 1   to commit the crime. See United States v. Gracidas-Ulibarry, 231 F.3d 1188, 1192

 2   (9th Cir. 2000).

 3         Accordingly, a plain reading of the text of the statute, in context, shows that

 4   the statute is not unconstitutionally vague. The Ninth Circuit’s opinion in Osinger

 5   fully supports this conclusion.

 6      B. Sufficiency of Cyberstalking Count

 7         Defendant contends the indictment is deficient because it does not provide

 8   the essential facts constituting the offense charged and because it does not allege

 9   “2 or more acts” in order to satisfy the statutory definition of “course of conduct.”

10   ECF No. 29 at 4-6. Defendant contends the indictment does not comply with

11   Federal Rule of Criminal Procedure 7(c)(1).

12         The Supreme Court addressed the standard by which Rule 7(c)(1) is satisfied

13   in United States v. Resendiz-Ponce:

14            As we have said, the Federal Rules “were designed to eliminate
              technicalities in criminal pleadings and are to be construed to
15            secure simplicity in procedure.” While detailed allegations might
              well have been required under common-law pleading rules, they
16            surely are not contemplated by Rule 7(c)(1), which provides that an
              indictment “shall be a plain, concise, and definite written statement
17            of the essential facts constituting the offense charged.”

18         Resendiz-Ponce, 549 U.S. 102, 110 (2007) (citations omitted). The Supreme

19   Court identified two constitutional requirements for an indictment: “first, [that it]

20   contains the elements of the offense charged and fairly informs a defendant of the



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 1   charge against which he must defend, and, second, [that it] enables him to plead an

 2   acquittal or conviction in bar of future prosecutions for the same offense.” Id. at

 3   108 (quoting Hamling v. United States, 418 U.S. 87, 117 (1974)). It is generally

 4   sufficient that an indictment set forth the offense in the words of the statute itself,

 5   as long as those words of themselves fully, directly, and expressly, without any

 6   uncertainty or ambiguity, set forth all the elements necessary to constitute the

 7   offence intended to be punished. Hamling, 418 U.S. at 117 (quotation and citation

 8   omitted). “Undoubtedly the language of the statute may be used in the general

 9   description of an offence, but it must be accompanied with such a statement of the

10   facts and circumstances as will inform the accused of the specific offence, coming

11   under the general description, with which he is charged.” Hamling, 418 U.S. at

12   117-18 (quoting United States v. Hess, 124 U.S. 483, 487 (1888)).

13         As it pertains to the allegation of “attempt”, the Supreme Court squarely

14   ruled that no further elaboration is necessary:

15            Federal Rule of Criminal Procedure 31(c) is also instructive. It
              provides that a defendant may be found guilty of “an attempt to
16            commit the offense charged; or ... an attempt to commit an offense
              necessarily included in the offense charged, if the attempt is an
17            offense in its own right.” Fed. Rules Crim. Proc. 31(c)(2)-(3). If a
              defendant indicted only for a completed offense can be convicted of
18            attempt under Rule 31(c) without the indictment ever mentioning
              an overt act, it would be illogical to dismiss an indictment charging
19            “attempt” because it fails to allege such an act.

20   Resendiz-Ponce, 549 U.S. at 110 n.7.



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 1         Additionally, if bears noting that while the Government proffers a factual

 2   recitation for the basis of the charge, the Court cannot consider such evidence in a

 3   pretrial motion to dismiss. The Court must only look to the Indictment itself.

 4   Indeed, it is a settled rule that even “a bill of particulars cannot save an invalid

 5   indictment.” Russell v. United States, 369 U.S. 749, 770 (1962).

 6         But nothing is invalid about the Indictment here. The Indictment sets for the

 7   date and location of the alleged offense and includes all the necessary elements of

 8   the offense. It sufficiently and fairly informs Defendant of the charge against

 9   which he must defend and enables him to plead an acquittal or conviction in bar of

10   future prosecutions for the same offense. The use of the words “course of

11   conduct” is appropriate here because it is a legal term defined by statute. It is

12   unnecessary that the Indictment further recite the 2 or more acts because it already

13   explicitly charges Defendant with using “an electronic communication system of

14   interstate commerce to engage in a course of conduct” on January 16, 2020. The

15   failure of proof will be a decision for the jury to decide or the Court to decide on a

16   Rule 29 motion, after trial.

17      C. Sufficiency of Threats in Interstate Commerce Count

18         Count 2 of the Superseding Indictment alleges:

19            On or about January 16, 2020, within the Eastern District of
              Washington, the Defendant, DAVIS HENDERSON TATSHAMA,
20            SR. knowingly and willfully transmitted in interstate and foreign
              commerce electronic communications, to wit: Facebook messages


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 1            containing threats to kill and injure J.R.A., all in violation of 18
              U.S.C. § 875(c).
 2

 3   ECF No. 46. Essentially, Defendant contends that by tracking the statutory

 4   language, the superseding indictment omits the mens rea element required for the

 5   “threatening nature of the communication” rather than the act of transmission.

 6         The Supreme Court in Elonis v. United States, 575 U.S. 723, 135 S. Ct.

 7   2001, 2011 (2015), reviewed the elements of the offense and the jury instructions,

 8   not the indictment. The Supreme Court held that although § 875(c) omits any

 9   mention of criminal intent, the statute still “include[s] broadly applicable scienter

10   requirements.” Id. at 2009. While the Supreme Court held the jury instructions

11   wrongly omitted the necessary mens rea, it did not hold the indictment was

12   insufficient. As discussed at length above, the Supreme Court identified two

13   constitutional requirements for an indictment: “first, [that it] contains the elements

14   of the offense charged and fairly informs a defendant of the charge against which

15   he must defend, and, second, [that it] enables him to plead an acquittal or

16   conviction in bar of future prosecutions for the same offense.” Resendiz-Ponce,

17   549 U.S. at 108 (quoting Hamling v. United States, 418 U.S. 87, 117 (1974)). It is

18   generally sufficient that an indictment set forth the offense in the words of the

19   statute itself, as long as those words of themselves fully, directly, and expressly,

20   without any uncertainty or ambiguity, set forth all the elements necessary to



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 1   constitute the offence intended to be punished. Hamling, 418 U.S. at 117

 2   (quotation and citation omitted).

 3           Here, the Superseding Indictment does not just track the words of the statute,

 4   but it also adds the mens rea element, “knowingly and willfully”. While

 5   Defendant contends these words only pertain to the phrase “transmitted in

 6   interstate and foreign commerce”, there is nothing which so limits the mens rea

 7   element alleged. Indeed, a natural reading of the entire charge, in context, shows

 8   that the words “knowingly and willfully” supply the “broadly applicable scienter

 9   requirements” to the allegation that the messages contained “threats to kill and

10   injure J.R.A.” See United States v. Howard, 947 F.3d 936, 944 (6th Cir. 2020) (“a

11   reasonable reading of the indictment’s text in its entirety . . . leads one to infer that

12   the words modify all parts of the charge”).

13           Thus, the Court finds Count 2 of the Superseding Indictment sufficiently and

14   fairly informs Defendant of the charge against which he must defend and enables

15   him to plead an acquittal or conviction in bar of future prosecutions for the same

16   offense.

17           On November 3, 2020, the Grand Jury handed down a Second Superseding

18   Indictment, ECF No. 58, which clarifies the mens rea allegations. Defendant

19   conceded at oral argument that this amendment makes Defendant’s argument

20   moot.



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 1         ACCORDINGLY, IT IS HEREBY ORDERED:

 2      1. Defendant’s Motion to Dismiss Indictment, ECF No. 29, is DENIED.

 3      2. Defendant’s Motion to Dismiss Count 2 of the Superseding Indictment, ECF

 4         No. 54, is DENIED.

 5         The District Court Executive is directed to enter this Order and furnish

 6   copies to counsel.

 7         DATED November 5, 2020.

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 9
                                   THOMAS O. RICE
10                              United States District Judge

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